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               UNITED STATES BANKRUPTCY COURT FOR THE
                 NORTHERN DISTRICT OF WEST VIRGINIA


 In re:


 Ward, Melody Anne                                     Case No. 21-00100
 Debtor.                                               Chapter 7


  ORDER AUTHORIZING THE EMPLOYMENT OF BK GLOBAL REAL ESTATE
                 SERVICES AND REALTOR NATALIE HOFFMANN


      On a prior day came Aaron C. Amore, Trustee for the above named Debtors,

for authority to employ BK Global Real Estate Services and Natalie Hoffmann with

the real estate agency of Keller Williams Eastern Panhandle (individually and

collectively referred to as “Broker” or “Brokers”) , in connection with the

administration of this Estate, and no adverse interest having been presented, and it

further appearing that the Brokers are duly licensed, and the Court being satisfied

that BK Global Real Estate Services and Natalie Hoffmann with the real estate

agency of with Keller Williams Eastern Panhandle represents no interest adverse to

the Trustee or the Estate of the Debtor(s) in the matters affecting the

administration of the Estate, and the Court having duly noticed said Application to

Employ and no objections having been filed thereto, that such employment is
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necessary and would be in the best interests of the Estate, and that the case is one

justifying the professional services of the Brokers, it is;


      ORDERED, that said Trustee be, and hereby is, authorized to employ BK

Global Real Estate Services and Natalie Hoffmann with the real estate agency of

with Keller Williams Eastern Panhandle with compensation approved as set forth

in the terms and conditions in the aforementioned Application to Employ filed with

the Court.




                                         Prepared by:

                                         /s/ Aaron C. Amore
                                         Aaron C. Amore, Trustee
